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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-cr-410 (RC)
                                              :
ANTON LUNYK,                                  :
                                              :
                       Defendant.             :


    NOTICE UNDER LOCAL CRIMINAL RULE 57.12(b)(3) OF RELATED CASES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully files notice, pursuant to Local Criminal Rule 57.12(b)(3),

that United States v. Anton Lunyk, 21-cr-410 (RC), and United States v. Francis Connor and

Antonio Ferrigno, 21-mj-580 (ZMF), are related cases.

       The prosecution of all three defendants arises from activities which are a part of the same

criminal event. All three defendants knew each other prior to January 6, 2021. All three men live

in New York and traveled to Washington, D.C. for the events of January 6. All three men entered

the United States Capitol on January 6, were captured on CCTV inside the Capitol together, and

left together. While inside the United States Capitol, all three entered the designated working space

of a United States Senator together and were captured in the same live stream video. Further, text

and social media messages were exchanged between the three men after January 6, 2021, regarding

their participation in the events of January 6, 2021. At this time, all three defendants have been

charged with the same four offenses pursuant to 18 U.S.C § 1752(a)(1) and (2), and 40 U.S.C. §

5104(e)(2)(D) and (G).

       Accordingly, because the primary conduct alleged against these three individuals overlaps

both temporally and geographically, and the evidence against them will be mutually admissible,
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including the testimony of witnesses, the government is preparing to present evidence against them

in a single trial.

                                             Respectfully submitted,

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                                     By:               /s/
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